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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                       No. 25-1579


                      Atlas Data Privacy Corp. v. MyHeritage Ltd.


                                        ORDER


       This lawsuit originally named two defendants. In November, one defendant was
dismissed from the case. To clarify that the dismissed defendant is not an appellant, the
caption for this appeal is hereby amended to read as follows:

       ATLAS DATA PRIVACY CORPORATION as assignee of individuals who are
       Covered Persons; JANE DOE-1, a law enforcement officer; JANE DOE-2, a law
       enforcement officer; EDWIN MALDONADO; SCOTT MALONEY; JUSTYNA
       MALONEY; PATRICK COLLIGAN; WILLIAM SULLIVAN
                     v.
       MYHERITAGE LTD. and MYHERITAGE (USA), INC.,
              MYHERITAGE LTD.,
                     Appellant


For the Court,

 s/ Patricia S. Dodszuweit
Clerk



Dated: April 15, 2025
Lmr/cc: All Counsel of Record
